Case 3:11-cr-03525-BEN   Document 51    Filed 03/06/12   PageID.130   Page 1 of 1


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  1                                                               MAR 0 6 l012 '
  2                         UNITED STATES DISTRICT COURT
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  3                        SOUTHERN DISTRICT OF CALIFORNIA ..             ....•.   ~
  4 UNITED STATES OF AMERICA,               )   Case No. 11CR3525-BEN
                                            )
  5                          Plaintiff,     )
                                            )
  6              v.                         )   ORDER TO/FOR:
                                            )   1) DISMISS INDICTMENT WITHOUT
  7   JAQUELYNE SANTOS (2),                 )      PREJUDICE;
                                            )   2) JUDGMENT OF DISMISSAL;
  8                          Defendant.     )   3) BOND EXONERATION.
                                            )
  9                                         )

 10   ------------------------------)
 11
           Upon motion of the UNITED STATES OF AMERICA and good cause
 12
      appearing thereof,
 13
           IT IS HEREBY ORDERED that the Indictment in the above-referenced
 14
      case be dismissed without prejudice as to defendant JAQUELYNE SANTOS.
 15
      Bond is exonerated.
 16
           SO ORDERED.
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 18
           DATED: March   lL    2012.

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                                                                                   Judge
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